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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:19−cr−00669
                                                         Honorable Edmond E. Chang
Gregg Smith, et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 26, 2022:


       MINUTE entry before the Honorable Edmond E. Chang: as to Gregg Smith,
Michael Nowak, and Jeffrey Ruffo: Jury trial held and continued to 07/27/2022 at 9:00
a.m. Counsel shall be prepared to start at 8:45 a.m. Emailed notice (mw, )




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